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1835/15-6818.UD


                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LINDA S. VANDENBURGH,                              )
                                                   )
                      Plaintiff,                   )
                                                   )
                      v.                           )
                                                   )
Bannockburn Police Officer ROBERT                  ) No.: 1:15-CV-06191
OGDEN; Highland Park Police Officer                )
GERALD CAMERON; Highland Park Police               )
Officer PHILIP DELAURENTIS; Highland               )
Park Police Officer AMY HYNDMAN;                   )
Deerfield Police Officer JOHN DOE #1;              )
Highland Park Police Officer JOHN DOE #2;          ) Judge Sara L. Ellis
RAVINIA FESTIVAL ASSOCATION, an                    )
Illinois Not-For-Profit Organization; THE          )
CITY OF HIGHLAND PARK, a Municipal                 )
Corporation; THE VILLAGE OF                        )
BANNOCKBURN, a Municipal Corporation;              )
and THE VILLAGE OF DEERFIELD, a                    )
Municipal Corporation,                             )
                                                   )
                      Defendants.                    Magistrate Judge Maria Valdez
                                                   )


                  HIGHLAND PARK DEFENDANTS’ MOTIONS IN LIMINE
       Defendants,    CITY OF HIGHLAND PARK,                  GERALD CAMERON,            PHILIP

DELAURENTIS, and AMY HYNDMAN, (“HIGHLAND PARK DEFENDANTS”) by and

through their attorneys, WILLIAM W. KURNIK and MICHAEL J. ATKUS of KNIGHT

HOPPE KURNIK & KNIGHT, LTD., move this Honorable Court, in limine, to prohibit and/or

allow as indicated, the following matters from being stated or referred to in any way in the

presence of the jury. Defendants contend that if such testimony is permitted, Defendants face a

significant risk of irreparable harm. As such, Defendants state as follows:

       Defendants face a significant risk of irreparable harm. As such, Defendants state follows:
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       1.      HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE ONE

       The Court should bar any and all testimony related to any settlement attempts and

discussions aimed at the settlement of this case and the settlement of the Plaintiff’s claims on the

basis that it is expressly prohibited by Federal Rule of Evidence 408, is irrelevant, Fed. R. Evid.

401, 502, would result in unfair prejudice, and would confuse and mislead the jury, Fed. R. Evid.

403.

       2.      HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE TWO

       The Court should exclude any non-party witnesses from the courtroom during testimony.

Fed. R. Evid. 615.

       3.      HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE THREE

       The Court should prohibit any and all references to the fact that the Defendants may be

indemnified against any judgment in this action. Kemezy v. Peters, 79 F.3d 33, 37 (7th Cir. 1996)

(“When the defendant is to be fully indemnified, such evidence, far from being required, is

inadmissible.”). Such evidence, argument, or testimony is irrelevant and unfairly prejudicial

under Federal Rules of Evidence 401, 403, and the spirit of Rule 411. See Fed. R. Evid. 411

(prohibiting, with certain exceptions, evidence that a person was or was not insured). If offered

by Plaintiff, this evidence could sway a jury to find against the individual Defendant Officers

simply because they are aware that any judgment will be paid by some entity other than the

Officers themselves.

       4.      HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE FOUR

       The Court should prohibit any and all evidence of and reference to insurance. Fed. R.

Evid. 411.




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        5.      HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE FIVE

        The Court should prohibit any and all evidence of attorney’s fees. Any award of

attorney’s fees is at the discretion of the Court if Plaintiff is a prevailing party. Fed. R. Evid. 401;

42 U.S.C. §1988.

        6.      HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE SIX

        This Court should bar any and all references to any general orders, policies, rules or

regulations of the City of Highland Park Police Department as irrelevant to the issue of whether

excessive force was used in the course of Plaintiff’s arrest. Thompson v. City of Chicago, 472

F.3d 444, 454 (7th Cir. 2006) (affirming the exclusion of the police department’s general orders

on the use of force in an excessive force case as “completely immaterial” to the issues at hand).

The issues in this case are whether the Defendants violated Plaintiff’s constitutional rights, not

whether they violated Highland Park procedures; therefore, such evidence is irrelevant. See id.,

citing Scott v. Edinburg, 346 F.3d 752, 760 (7th Cir.2003). Alternatively, should this Court

determine that such evidence has any relevance to the issues at bar, the introduction of any

general orders, policies, rules or regulations of the City of Highland Park Police Department

would be misleading and most likely confuse the jury as to the applicable standard and,

therefore, should be excluded under Federal Rule of Evidence 403 as well.

        7.      HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE SEVEN

        This Court should bar any and all references to any instance of police misconduct that are

unrelated to this case and that have otherwise been recently publicized in the media and/or

subjects of protests. Any such instances are irrelevant to the issues of this case, unfairly

prejudicial, and would confuse and mislead the jury. Fed. R. Evid. 401-403; Fox-Martin v. Cnty.

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of Cook, No. 09 C 1690, 2010 WL 4136174, at *4 (N.D. Ill. Oct. 18, 2010) (barring all reference

to police misconduct unrelated to the plaintiff’s specific claims of excessive force) (citing

Walker v. County of Cook, 2009 WL 65621, at *1 (N.D. Ill. 2009); Redmond v. City of Chicago,

2008 WL 539164, at *6 (N.D. Ill. 2008)).

       8.      HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE EIGHT

       This Court should bar any and all testimony and lay witness opinions, including but not

limited to those of Plaintiff, that the force used by any or all of the Defendant Officer was

“excessive.” The question of whether or not a police officer uses “excessive” force in arresting a

suspect is a fact intensive inquiry based on the reasonableness of the particular officer’s actions

in light of the particular facts and circumstances of the situation known to and confronting that

particular officer. Graham v. Connor, 490 U.S. 386, 396 (1989); DeLuna v. City of Rockford,

Illinois, 447 F3d 1008, 1010 (7th Cir. 2006). As such, whatever opinion Plaintiff or any other

witness may have as to whether or not the amount of force used was excessive would be of little

value except as causing possible confusion and a substantial risk of unfair prejudice. Thompson

v. City of Chicago, 472 F.3d 444, 458 (7th Cir. 2006); Fed. R. Evid. 403.

       9.      HIGHAND PARK DEFENDANTS’ MOTION IN LIMINE NINE

       The Court should bar any and all evidence relating to Plaintiff’s handcuffing, including

the injury to her right shoulder which she alleges occurred during the handcuffing. The Court

has already determined that Plaintiff’s version of her handcuffing implies the invalidity of her

conviction for interfering with a police officer under Heck v. Humphrey, 512 U.S. 477 (1994),

and thus granted Defendants’ motion for summary judgment on that claim. See Opinion and

Order [dkt. 104].




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       10.     HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE TEN

       This Court should bar any reference by Plaintiff regarding any contention that there was a

“code of silence,” “blue wall,” or the like describing situations in which police generally cover

for their colleagues. The phrase “code of silence” is unduly prejudicial and should not be used at

trial. Townsend v. Benya, 287 F.Supp. 868, 876 (N.D. Ill. 2003); Hillard v. City of Chicago, Ill.,

No. CIVA 09C2017, 2010 WL 1664941, at *3 (N.D. Ill. Apr. 23, 2010). Plaintiff has not alleged

a conspiracy or cover up and no evidence has been discovered of the same. Thus, the use of

“code of silence,” “blue wall,” or the like are unfairly prejudicial and unsupported by the

evidence. Fed. R. Evid. 403.

       11.     HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE ELEVEN

       The Court should bar Plaintiff or any lay witness from testifying as to any medical

conditions, causation, diagnoses or prognoses that may have been as a result of Plaintiff’s arrest.

Neither Plaintiff nor any lay witness is competent to offer testimony regarding any proposed

medical condition or diagnosis. Fed. R. Evid. 702, 702; United States v. Cravens, 275 F.3d 614

(7th Cir. 2001) (“Although a lay person may readily observe a health problem, the causation of a

mental disease or defect is a more technical medical determination such that a court would find

expert testimony particularly useful to its ultimate decision); Hendrickson v. Cooper, 589 F.3d

887, 893 (7th Cir. 2009) (allowing plaintiff to describe pain only where there was no testimony

or question regarding the complicated question of medical causation); McQuiston v. Helms, 2009

WL 554101, at *11 (N.D. Ind. March 4, 2009) (“McQuiston cannot opine on medical causation

or the impact of Dr. Brokaw's medical diagnosis on his ability to work in the future because

those opinions would necessarily have to be ‘based on scientific, technical, or other specialized


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knowledge.’”); Larsen v. Barrientes, 2010 WL 2772325, at *4 (N.D. Ind. 2010) (no lay witness

“shall be permitted to opine that the arrest proximately caused Larsen’s mental and physical

health problems or offer a medical diagnosis of his alleged injuries); Starks-Harris v. Taylor,

2009 WL 2970382, at *5 (N.D. Ind. 2009) (holding that the plaintiff would not be permitted to

testify that her arrest was the proximate cause of her mental or physical health problems and

would not be permitted to offer, “in effect, a self-diagnosis”). As lay witnesses, Plaintiff or any

other non-expert witness lacks the knowledge, skill, experience, training and education that

would qualify them to testify about the nature Plaintiff’s medical conditions, their causes, or their

permanence. Christmas v. City of Chicago, 691 F.Supp.2d 811, 821 (N.D. Ill. 2010).

       12.     HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE TWLEVE

       This Court should bar any and all evidence, testimony, or argument regarding any other

incidents involving the use of excessive force by the City of Highland Park or its officers. Any

such evidence is irrelevant, confusing and unfairly prejudicial. Fed. R. Evid. 401-404.

Moreover, any evidence of a person’s other crimes, wrongs or acts must be excluded under

Federal Rule of Evidence 404(b); Shaffer v. Brinegar, 23 F. App’x 580, 584 (7th Cir. 2001)

(affirming that prior incidents of misconduct are irrelevant to an individual capacity excessive

force claim because the goal is inevitably to demonstrate that the actions conformed to past

behavior, a purpose expressly prohibited by Rule 404(b)); Perri v. Daggy, 776 F. Supp. 1345,

1349 (N.D. Ind. 1991) (Miller, J.), citing United States v. Beasley, 809 F.2d 1273, 1278 (7th Cir.

1987); see also Okai v. Verfuth, 275 F.3d 606, 611 (7th Cir. 2001).

       13.     HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE THIRTEEN

       Plaintiff contends that Defendants used excessive force in the course of his arrest by

removing her from the pavilion by wheelchair and keeping her in the wheelchair as they took her


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to the Iris Gate. Defendants seek to bar testimony and reference implying that the Officers were

obligated to use the “least” amount of force necessary while effectuating the seizure/arrest of

Plaintiff. “Officers need not apply the least amount of force necessary, rather, they need to apply

a reasonable amount of force.” Trout v. Frega, 926 F. Supp. 117, 122 (N.D. Ill. 1996) (citing

Apostal v. City of Crystal Lake, No. 94 C 50068, 1995 WL 692680, at *1 (N.D. Ill. Nov. 22,

1995)) (emphasis in original); see also Graham v. Connor, 490 U.S. 386 (1989); Nelson v. City

of Elmhurst, 691 F.Supp. 122, 125 (N.D. Ill. 1988) (holding that degree of force “reasonably

necessary” does not mean degree of force “strictly necessary”). Therefore, any such assertion

would imply that the officers were required to use the least amount of force necessary would

misinterpret the applicable legal standard. See Fed. R. Evid. 403.

       14.     HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE FOURTEEN

       This Court should bar any and all evidence, testimony, or argument regarding any alleged

assaults and/or batteries of the Plaintiff by any Highland Park Police Officer other than the

individually named Defendants Cameron, Hyndman, and DeLaurentis, and any alleged injuries

resulting from such batteries, including, but not limited to the alleged injury to Plaintiff’s right

shoulder. Plaintiff’s claim for assault and battery is brought against these individually named

Defendants.    Plaintiff’s claim against the City of Highland Park sounds only in statutory

indemnification, and thusly remains entirely derivative of an entry of judgment against an

individual employee. See 735 ILCS 10/9-102. As such, any evidence, testimony, or argument

regarding any alleged assaults or batteries by non-defendant employees of the City of Highland

Park remain entirely irrelevant and unfairly prejudicial under Federal Rules of Evidence 401,

403.

       15.     HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE FIFTEEN



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       The Court should prohibit any evidence, documentary or testimonial, related to any prior

disciplinary actions or lawsuit(s) filed against the Defendants. Any such incidents of past

discipline and lawsuits remain unrelated to the incident involving Plaintiff. Therefore, any type

of such evidence remains irrelevant and immaterial to the issues to be tried. See F.R.E. 401, 402,

404(a) and (b). Any such testimony also remains highly prejudicial and likely to confuse the

jury. See Delgado v. Mak, Case No. 06 C 3757, 2008 WL 4367458, *5-6 (N.D. Ill. Mar. 31,

2008) (Dow, J.); see also Bruce v. Perry, Case No. 03-CV-558, 2007 WL 2608835 (S.D. Ill.

2007) (Herndon, J).

       16.     HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE SIXTEEN

       The Court should prohibit any and all testimony that the City of Highland Park Police

Department failed to train, to monitor, or to discipline its officers. Any such evidence remains

irrelevant, as there is no direct municipal defendant, and no Monell claim to be tried. Thus, the

Court should bar such evidence as irrelevant and/or more prejudicial than probative. See F.R.E.

401 and 403.

       17.     HIGHLAND PARK DEFENDANTS’ MOTION IN LIMINE SEVENTEEN

       The Court should prohibit any and all evidence, testimony, or argument that Plaintiff

suffered more than garden variety emotional distress as a result of the Defendants’ actions. In

other words, the Court should limit Plaintiff’s evidence and testimony relating to her claims for

emotional distress to “the negative emotions that she experienced essentially as the intrinsic

result of the defendant[s’] alleged conduct,” and bar her from introducing “evidence of any

resulting symptoms or conditions that she might have suffered.” See Santelli v. Electro-Motive,

88 F.R.D. 306, 309 (N.D. Ill. 1999). During discovery in this actions, these Defendants issued a

subpoena for records to Plaintiff’s psychotherapist, which Plaintiff moved to quash. During the



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hearing on the motion to quash, Plaintiff’s counsel represented to this Court and to the

Defendants that Plaintiff was limiting her claim to garden variety-type emotional distress claims,

and that she understood that presenting more specific evidence would result in a waiver of the

patient-psychotherapist privilege.      The Court should preclude Plaintiff from waiving the

privilege for the first time at trial, and thus prejudicing Defendants’ right to discovery, and a fair

trial.




         WHEREFORE, the HIGHLAND PARK DEFENDANTS respectfully requests that the

Court grant these Motions in Limine and/or any relief deemed just and proper.

                                               Respectfully submitted by,


                                               /s/ William W. Kurnik
                                               WILLIAM W. KURNIK, Attorney #1550632
                                               One of the Attorneys for the Defendant




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                                 CERTIFICATE OF SERVICE


       The undersigned, hereby certifies that on August 17, 2018, the foregoing HIGHLAND

PARK DEFENDANTS’ MOTIONS IN LIMINE was filed with the court using the CM/ECF

system which sent notification of such filing to all attorneys of record.

                                                       /s/ William W. Kurnik
                                                       WILLIAM W. KURNIK #1550632




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